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6
                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
7
     United States of America,             ) Case No. 2:06-cr-00035-MCE
8              Plaintiff,                  )
          vs.                              ) DATE: April 3, 2008
9
                                           ) TIME: 8:30 a.m.
10
     Zachary Jenson,                       ) COURT: Hon. Morrison C. England,
               Defendant                   ) Jr.
11                                         )
                                           ) Stipulation and Order To
12                                         ) Continue Judgment & Sentencing
                                           )
13

14
           Zachary Jenson is currently scheduled to be sentenced on
15
     February 7, 2008.     The parties agree and stipulate that Mr.
16

17
     Jenson’s sentencing should be moved to April 3, 2008 and that

18   date is available with the Court.
19

20
     Dated: January 14, 2008                      Respectfully submitted,
21

22                                              _/s/ Shari Rusk______
23
                                                Shari Rusk
                                                Attorney for Defendant
24                                              Zachary Jenson
25

26
     Dated: January 14, 2008                     /s/ Ellen Endrizzi
                                                  Ellen Endrizzi
27                                                Assistant United States
                                                  Attorney
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                                ORDER
1

2         It is so ordered that Zachary Jenson be set for judgment

3    and sentencing on April 3, 2008.
4

5    Dated: January 15, 2008

6                                  __________________________________
                                   MORRISON C. ENGLAND, JR
7
                                   UNITED STATES DISTRICT JUDGE
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